Case 2:18-cV-02867-I\/|SG Document 1 Filed 07/09/18 Page 1 of 26

IN THE UNITED STATES DIS'I`RICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

MICHELLE SHERMAN,
Plaintit`t`,
v.

Civil Action No.
CIGNA CORPORATION,

LIFE INSURANCE POLICY
OF NORTH AMERICA. and ARIA
HEALTI-I D/B/A ARIA-JEFFERSON
HEALTH
Det`endants.
NO'I`ICE OF REMOVAL

Defendants Cigna Corporation' and Lit`e Insurance Company of North America
(“LINA”) (incorrcctly captioned as Life Insurance Policy o'l’North America),2 through counsel.
hereby tiles this Notice of Relnoval pursuant to 28 U.S.C. § 1331 and 28 U.S.C. §1441. er seq.
The grounds for removal are as follows:

l. Plaintift` Michelle Sherrnan (“Plaintifi"`) commenced this action against
Det`endants by filing a Praecipe for Writ of Surnmons on March 19, 2018, and a Complaint in the
Court of Common Pleas of Philadelphia County on Jnne 13, 2018. This matter is captioned
Shermcm v. Cigna Corpomrion et al., Case No. 180303]88. A true and correct copy of the

Complaint is attached hereto as Exhibit A and incorporated herein by reference A true and

correct copy of the Writ of Surnmons is also attached hereto as Exhibit B.

 

' This filing by Cigna Corporation does not constitute an admission that it is a proper
defendant in this action.

2 In the Cornplaint, Plaintift` erroneously referred to LINA as “Life Insurance Policy ot`
North America.” “Life lnsurance Policy of North America” is not a viable entity or party

that can be sued.

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2. L[NA was served With the complaint on .lune 18, 2013.

3. No other process or pleading has been filed in this action as of the date of` the
filing of this Notice of Removal.

4. Neither Cigna Corporation nor LINA have yet filed a responsive pleading to
Plaintiff’ s Complaint.

5. Cigna Corporation and LINA are tiling this Notice within thirty days after
“receipt” of a copy of the initial pleading setting forth the claim for relief upon Which such action
or proceeding is based as allowed by 28 U.S.C. § l446(b).

6. Pursuant to 28 U.S.C. § 1331, this Court has “original jurisdiction over all civil
actions arising under the Constitution, laws. or treaties of the United States.” 28 U.S.C. § 1331.

7. Any civil action filed in a state court, over Which a federal district court Would
have original jurisdiction. shall be removable by a defendant to the district court of the United
States for the district and division where the action is pending. 28 U.S.C. § l44l(a).

8. Plaintist civil action arises under the 1Eimployee Retirement Income Security
Act, as amended (“ERISA”), 29 U.S.C. § 1001 er .s'eq., a law of the United States. This Court
has exclusive jurisdiction over actions arising under ERISA. 29 U.S.C. § l 132(e)(l ).

9. Plaintiff` alleges that her employer. Aria Health. sponsored an ERISA welfare
benefit plan (the “Plan”), which “funded the long-term disability component of its employee
welfare benefit plan through the purchase of a group long term disability insurance policy. . . “
Complaint il 7.

10. Among the benefits offered by the Plan Were long-term disability benefits_, which

were provided pursuant to a long-term disability policy (the “Policy”). Complaint1| 8.

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l l. In Count I of the Complaint, Plaintit`t` avers a “Arbitrary and Capricious Benefit
Denial Under ERISA s. 112(a)(l)(B)” and alleges that “as a direct result of` Cigna’s wrongful
denial of disability benefits a violation of ERISA (sic), Ms. Sherman seeks and is entitled to
other appropriate equitable relief to counter and prevent any future retaliatory actions by
ERISA.” Complaint1[ 43.

12. Because Plaintiff"s allegations lfall within the purview of ERISA, this civil action
is properly removed to this Court pursuant to 28 U.S.C. § 1441 (c) and 29 U.S.C. § l l32(e)(l).

13. Defendant Aria Health DIBIA Aria-Jefferson Health consents to removal.

I4. A true copy of this Notice of Removal will be provided to Plaintiff’s counsel.
pursuant to 28 U.S.C. § 1446.

15. Pursuant to 28 U.S.C. § 1446(d), a true copy of this Notice of Removal WiIl be
filed with the Office of the Prothonotary ot` the Couit of Common Pleas for Philadelphia County,
Pennsylvania.

16. This Notice of Removal is filed subject to and without waiver of any rights Cigna

Corporation and LINA may have with respect to Plaintiff`s claims.

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WHEREFORE, pursuant to 28 U.S.C. §§ 1331 and 1441 et seq., Defendants Cigna

Corporation and Life Insurance Company of North America respectfully request that Plaintiff`s

civil action be removed from the Court of Common Pleas, Philadelphia County, to the United

States District Court for the Eastern District of Pennsylvania.

Dated: July 9, 2018

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Respectt`ully submitted,

 

 

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L;'fe Insurance Policy ofNorrh America

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EXHIBIT A

 

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6104590-0301 610_664-5200 Exi 104 gffl§‘§; °'f‘: 1“§1§5§;;"§; f,,§';‘;,m
Fax: 610-690»0380 Fax: sss-23 3-1334 15 -5555?555
Attorney for Plaintiff Attorney for Plaintif`f /¢".,.j, `
“"- .'I‘..'u'
MICHELLE SHERMAN PHILADELPHIA COUNTY
6200 Madison Court C()UR'I` OF COMMON PLEAS

Bensalern, PA 19020

Plaintiff`,
v.
CIGNA CORPORATION
Two Liberty Place

1601 Chestnut Street
Philadeiphia, PA 19192

and

No. 180302188

JuRY oF TWELvE (12) IURORS
DEMANDED

LIFE INSURANCE POLICY OF NORTH

AMERICA

Two Liberty Place

1601 Chestnut Strect
Philadelphia, PA 19192

and

ARIA HEALTH D/BIA ARIA-
JEFFERSON HEALTH

10800 Knights Road
Phi]adelphia, PA 19114

Defendants.

NOTICE TO DEFEND

 

NOTICE

You have been sued in court If` you
wish to defend against the claims set forth
in the followingp_ages, you must take

 

A VISO

Le han demandado a usted en 1a corte. Si usted
quiere defenderse de estas demandas ex-puestas
en las paginas siguientes, listed tiene veiute (20)

 

 

 

 

 

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action within twenty (20) days after this
complaint and notice are served, by
entering a written appearance personally or
by attorney and filing in writing with the
court your defenses or objections to the
claims set forth against you. You are
warned that if you fail to do so the case
may proceed without you and a judgment
may be entered against you by the court
without further notice for any money
claimed in the complaint or for any other
claim or relief requested by the plaintiff
You may lose money or property or other
rights important to you.

YOU SHOULD TAKE THIS PAPER TO
YOUR LAWYER AT ONCE. IF YOU
DO NOT HAVE A LAWYER, GO TO OR
TELEPHONE THE OFFICE SE'I` FORTH
BF,I,OW. 'I`I~IIS OFFICE CAN PROVIDE
YOU WITH INFORMATION ABOUT
HIRING A LAWYER.

IF YOU CAN`NOT AFFORD TO HIRJE A
LAWYER, THIS OFFICE MAY BE
ABLE TO PROVlDE YOU WITH
[NFORMATION ABOU'I` AGENCIES
'I`HAT MAY OFFER LEGAL SERV[CES
TO ELIGIBLE PERS()NS A'I` A
REDUCED FEE OR NO FEE.

Philadelphia Bar Assooiation Lawyer
Referral and Inforrnation Service One
Reading Center Phi`ladelphia, Pennsylvania
l 91 07
(215) 233-6333
TTY (215) 451~619?

 

dias de plazo al partir de 1a fecha de la demanda
y la notificacion. Hace falta asentar una
comparencia cscrita 0 en persona o con un
abogado y cntregar ala corte en forma escrita
sus defensas o sua obj eciones a las demandas en
contra de su persona. Sea avisado que si usted
no se deliende, 1a corte tamara medidas y puede
eontinuar 1a demands en contra suya sin previo
aviso o notificacion. Ademas, la corte puede
decidir a favor del demandante y requiere que
listed cumpla con todas las provisiones de esta
demanda. Usted puede perder dinero o sus
propiedades u otros derechos importantes para
usted.

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PROPORCIONARLO CON INFORMACION
ACERCA DE LAS AGENCIAS QUE PUEDEN
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Asociacion De Licenciados De Filadelfia
Servicio De Referencia E Informacion Legal
One Reading Center Filadelfia, Pennsyivania

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(215) 238-6333
TTY (215) 451-6197

 

 

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Attol'ney for Plaintif`i` Attorney for Plaintiff
MICHELLE SHERMAN PHIL,A[)ELPHIA COUNTY
6200 Madison Court COURT OF COMMON PLEAS

Bensalem, PA 19020

Plaintiff,
v.
CIGNA CORPORATION
Two Liberty Place

1601 Chestnut Stl'eet
Philadelphia, PA 19192

and

LIFE INSURANCE POLICY OF NORTH
AN[ERICA

Two liberty Place

1601 Chestnat Street

Philadelphia, PA 19192

and

ARIA HEALTH D!B/A ARIA-
JEFFERSON HEALTH

10800 Knights Road
Philadelphia, PA 19114

Defendants.

No. 180302188

JURY 01='err,vn (12) JURoRs
DEMANDED

CIVIL ACTION COMPLA]NT

PARTIES, J URISDICTION AND VENUE

l. Plaintiff, Michelte Sherrnan, is an adult individual residing at the above captioned

Case lD: 180302188_.

 

J

 

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address

. Defendant, Cigna Corporation is an international insurance company, duly organized in
the Commonwealth of Pennsylvania doing business at the above captioned address.

. Defendant, Life Insurance Policy of America, in an insurance company duly organized in
the Commonwealth of Pennsylvania doing business at the above captioned address

. Defendant, Aria Healtb, doing business as Aria-Jeft`erson Health is a network of
hospitals, duly organized in the Comrnonwealth of Pennsylvania doing business at the
above captioned address

. Venue is proper in Philadelphia County Pennsylvania as the incident giving rise to the
Complaint occurred in Philade]phia County Pennsylvania. Venue is appropriate in this
Court pursuant to Pa. R.C.P. 1006.

. Jurisdiction and venue are therefore proper in Phi]adelphia County, Pennsylvania.
OPERATIVE FACTS

. Aria I-lealth funded the long-term disability component of its employee welfare benefit
plan (" Plan") through the purchase of a group long term disability insurance policy
issued by Cigna International, Group I_.TD policy number 50684 ("Polic y").

. As pertinent herein, the Policy provide s monthly long-term disability benefits to an
Insured (and Plan participant) who is Disabled, which is defined as:

“you are unable to perform the material and substantial duties of your regular
occupation due to your sickness or in jury; and you are under the regular care of a doctor;
and, you have 20% or more loss in your monthly earnings due to that sickness or injury.
Material and substantial duties" is defined as duties that "are normally required for the

performance of your regular occupation and cannot be reasonably eliminated or

 

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modified."

For several years, Slterman worked her way up through the hospital industry advancing to
the position of lab technician at Aria Health until she Was forced to stop working due to
the effects of cervicalgia, lumbago, and shoulder pain, which caused her to be unable to
perform the substantial and material duties of her regular occupation and any gainful
occupation

At all times pertinent hereto, Sherman was an "lnsured" under the Polioy and/or a
participant in the Plan, who was entitled to the coverage and other benefits provided in
and under the Policy and Plan.

Sherman filed a claim for long term disability benefits under the Plan.

The claim was approved and benefits conunenced; indeed, Ms. Sherman filed and was
approved for Social Security disability benefits as she was unable to perform any gainful
work.

To date, Sherman remains unable to work at her and any gainful occupation due to her
cervicalgia, lumbago, and shoulder pain as her deficits and symptoms continue without
any change or improvement; indeed, she continues to receive Social Security disability
benefits

In or about 2016, Cigna terminated Sherman’s long-term disability claim relying upon its
review of medical records and a medical records peer review.

Af`ter her first appeal was rejected, on or about 201 7, Shennan filed a second voluntary
appeal of Cigna’s claim.

After conducting an 111-person medical exam and reviewing Cigna’ s claim file,

Sherman’s doctor opined that Sherrnan was disabled from performing " the material

 

 

 

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duties of any occupation on a steady and full-time basis ."

Her doctor related that "fatigue and concentration difficulties can be associated with the
multiple medications Ms. Sherman must take, and also been a problem for her - she has
to limit activities through her day and allow for frequent brakes (sic) to rest. " The doctor
opined that Sherman is totally and permanently disabled and she is " unable to work a 40-
hour week even in a light duty or sedentary capacity as a result of this condition.“

ln her appeal Sherman presented first-liand, credible medical and personal information

establishing and documenting proof of and the extent of her continuing inability to

perform her own and any gainful occupation, including her restrictions and limitations
Neirher the Plan, nor the Policy requires “objective clinical evidence."

In a letter dated November 14, 2017, Cigna upheld its termination of benefits by finding
that " after reviewing the entire claim file, we have determined that the medical
documentation does not support the need for medically necessary restrictions and
limitations from March 1, 2017 onward."

Cigna’s appeal reviews and decisions involved medical record peer reviews only and did
not involve any in-person testing or examination; yet, Cigna had the ability to conduct
independent medical exams, require cognitive tcsting, etc.

Cigna' s appeal reviews and decisions completely overlooked and ignored Sherman’s
personal, daily struggles; Cigna did not speak with Sherman about her issues and
symptoms

Cigna’s appeal reviews and decisions rejected the treatment and opinions of in~person

treating pllysicians, who also were not consulted by Cigna or its medical or vocational

reviewers.

 

 

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24. lostead, Cigna and its medical peer reviewer interpreted the medical records and felt that
there was " no clinical data to support weakness requiring any restrictions." §

25. Cigna "cherry-picl<ed" the medical evidence and avoided the totality of circumstances, §
including Sherman herself, to reach a desired result.

26. Sherman has cervical gia, lumbago, and shoulder pain that is objectively and clinically j
established for which she takes medications undergoes therapy, and regularly treats with
a specialist; her condition has not improved and will not improve, but instead continue to
become progressiver worse.

27. Sherman takes medication weekly to contain the damage (ini`|amrnation) to her central
nervous system; and, while she is " stable, it is unrebutted that she experiences and
continues to experience numerous, regular, and debilitating symptoms from pain to
fatigue to concentration difficulties which are unrebutted

28. Cigna still has not considered and, thus, cannot establish that Sherman has the ability to
return to work, that is work at any gainful occupation eight hours a day, five days a week
for four weeks a month, eto.

29. Sherman has exhausted all administrative remedies as she has tile d and pursued all of the
appeals provided under and required by the Plan/Policy.

COUNT I -» cIGNA's ARBITRARY AND CAPRICIOUS
BENEFIT DENIAL IJNI)ER ERISA §1132(a)(1 )(B)

30. Plaintit`t` incorporates by reference all prior paragraphs as if hilly set forth at length

herein

31. At all times pertinent, and since April 2014, Plaintiff` has been disabled iicm performing

the material and substantial duties of her regular occupation and any gainful occupation

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due to her medical conditions and symptoms including, the symptoms arising from and

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due to her medical issues, including pain and fatigue and other associated problems and,
thus, she is entitled to continuing long term disability benefits due under the Polioy/Plan.
Plaintif'f’s treating physician, and an independent neurologist who personally examined
Sherman, both opined that Sherman was unable to perform her regular occupation and
any gainful occupation and their treatment records confirm her medical conditions and
symptoms underlying her diagnosis and Disability.

Sherman submitted proof, both medical and personal, to establish proof of a continuing
Disability under the Policy)’Plan.

Defendant Cigna, in order to control and limit its appeal reviews and decisions,
conducted only a medical record reviews and failed to speak with Plaintiff`, failed to
communicate with her treating physician, failed to seek or request medical or diagnostic
testing, and did not conduct an ill-person exam despite having the authority and ability
under the Policy )‘Plan to conduct these activities and assessments

Cigna mischaracterizes and improperly interprets the Policnylan's provision of proof
by a claimant of`the "ex tent of your disability, including restrictions and limitations
preventing from performing your regular occupation and gainful occupation " to mean
objective clinical evidence, i.e. medical evidencel

Cigna’s failure to speak with Ms. Sherrnan, failure to consider her personal Statement
and daily activities, failure to consult with her treatingphysician or request or conduct
diagnostic testing wider the circumstances and conditions presented , failure to conduct
an iit-person , independent medical examination chc rry-p icking of the medical
evidence, improper insertion of an objective clinical evidence standard, and

characterizing this as a burden of proof issue to avoid its duties , is both proof of bias

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and self-serving actions and an arbitrary and capricious claim handling and tainted
decision.

Cigna's decision to terminate Sherman' s long term disability benefits was arbitrary and
capricious inasmuch as it Was not reasonable , was not supported by the evidence of
record, failed to properly consider and address key medical and other evidence as
well as the totality of evidence and resulted from a very narrow, limited, tainted, biased,
deficient and otherwise erroneous claim review and process; indeed, Cigna's decision
was wrong under any ERISA standard of review, including a de novo review or lessened
difference due to Cigna ' s procedural violations and irregularities bias, and conflicts of
interest , infer alia

Due to its inherent conflict of interest, its procedural violations and irregularities, and
other biased, self-serv in g claim handling, Cigna is not entitled to any deference and /or
any deference must be diminished to address and counter Prudentiai' s errors and bias.
Due to Cigna 's conflicts of interest, inherent and otherwise,Cigna is not entitled to any
deference andfor deference must be diminished to address and counter Cigna's
conflict of interest

As a direct result oi`Cigna’s wrongful denial of disability benefits and violations of
ERISA, Ms. Sherman has been denied payment of her long-term disability benefits,
which benefits plus interest, she is entitled to recover and seeks herein.

As a direct result of Cigna ' s wrongful denial of disability benefits and violations of
ERISA,. Sherman has been deprived and lost ancillary benefits, including but not limited
to pension, life (including a waiver of premium claim), health, dental and other benefits,

which she is entitled to recover and seeks herein.

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42. As a direct result of Cigna*s wrongful denial of disability benefits and violations of
ERISA, Sher'man has been required to retain counsel and incur attorney's fees and
other costs and expenses, which she is entitled to recover under §l l32(g) and seeks
herein.

43. As a direct result of Cigna’s wrongful denial of disability benefits a violation of ERISA,
Ms. Sherman seeks and is entitled to other appropriate equitable relief to counter and

prevent any future retaliatory actions by Cigna.

WHEREFORE , Plaintiff, Michelle Sherman herein requests thatjudgment be entered in
her favor and against Defendant, The Cigna lnsurance Company of America, that this Court
award her the full and complete payment of long term disability benefits under the l’olicyfl’lan ,
both retroactively and continuing into the future, plus interest and together with any and all n
ancillary benefits due, reasonable attorney ' s fees, costs and expenses, other appropriate

equitable relief, and any other relief that this Court deems appropriate

COUNT II
BAD FAITH
44. Plaintiff incorporates by reference all prior paragraphs as if fully set forth at length
herein.
45. The actions andr’or omissions of Dei`endants constitute Bad Faith pursuant to Pa.C.S.A.
§8371, et seq., and at common law.
46. Defendants’ bad faith includes, but is not limited to:
a. Failing to conduct a proper investigation prior to terminating Plaintiff's benefits;
b. Refusing without proper foundation to pay said claims;

c. Failing to inform Plaintiif of their rights under the policies;

d. Breaching its fiduciary relationship and contracts;

Case ID: |80302188

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c. At all times material, Defendants have conducted themselves in violation of the
Pennsyivania Unfair Insurance Practices Act, 42 P.S. §l 1?1, et seq., and
Pennsylvania Unfair Claims Settiernent Practices Act, 31. Pa.Code §146, ct scq.

f. Such other and further conduct Which may be revealed throughout continuing
discovery andr‘or at trial; and

g. Establishing and exhibiting a pattern and practice of bad faith, representation
and!or conduct benefiting the interests of Defendants, to the detriment of its
insured, including Plaintiff.

47. At ali times material, Defendants acted in Bad Faith and in violation of the aforesaid statute,
as Well as laws, statutes and ordinances of the controlling governments and/m
municipalities

48. As a direct and proximate result of the Defendants' bad faith conduct, Plaintift` has
sustained severe financial harro.

WHEREFORE, Piaintiffs demand judgment in their favor and against Defendants, for
an amount in excess of $50,000.00, plus interest, costs of suit and attorney i`ees, punitive
damages, and other relief which this Honorable Court deems necessary and just,

COUNT III
NEGLIG`ENCE

49. Plaintiff incorporates by reference all prior paragraphs as if fully set forth at length
herein.
50. All times material, Defendants deviated from the applicable standard of care and
otherwise were negligent, careless, reckless, including but not limited to:
a. Breaching Defendants’ fiduciary duty to Plaintiff;

b. Failing to conduct a proper investigation prior to terminating Plaintii`f’ s benefits;

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c. Refusing without proper foundation to pay said claims;

WHEREFORE, Plaintiffs demand judgment in their favor and against Dei`endants, for
an amount in excess 0f$50,000.00, plus interest, costs of suit and attorney fees, punitive
damages, and other relief which this Honorable Court deems necessary and jusl',

COUNT IV

BREACH OF CONTRACT!§!UASI-CONTRACT

UNJUST ENRICHMENT/ PROMISORY ESTOPPEL

51. Plaintiff incorporates by reference all prior paragraphs as if fully set forth at length
herein.

52. At all times material, Plaintit`f and Defendants were parties to the contracts (in the
possession of Defendants), express andfor implied at law, of which Defendants are in
breach, to Plaintit`i‘ s great personal detriment and injury as aforesaid.

53. At all times material, Defendants owed, Plaintiff as beneficiary of the policy, a duty of
utmost fair dealing, to which said Defendants are in breach to Plaintiff’s great personal
detriment and injury as aforesaid.

54. At all times material, hereto, Defendants had a fiduciary duty to Plaintiffs which duty was
breached by the reasons aforesaid
WHEREFORE, Plaintit`fs demandjudgment in their favor and against Defendants, for

an amount in excess of 850,000.00, plus interest, costs of suit and attorney fees, punitive
damages, and other relief which this Honorablc Court deems necessary and just,

COUNT V
BREACH OF FIDUCIARY DU'I`Y

55. Plaintiff incorporates by reference all prior paragraphs as if fully set forth at length

herein.

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56. At all times material, Plaintiff and Dcfendants were parties to the contracts, express
auditor implied at law, of which Del`endants are in breach, to Plaintiff’s great personal
detriment and injury as aforesaid

57. Defendants’ fiduciary duties include obligations to exercise good business judgement, to
act prudently in the administration of sending notice regarding any changes in the whole
life policy, to notice beneficiary of any changes to their policy in good faith, to act in the
best interests of the company and their policyholders, and to put the interest of the
policyholder before their own.

58. Defendants breached their duties of loyalty and good faith by failing to comply with the
terms of the policy and applicable law-

59. At all times material hereto, Defendants had a fiduciary duty to Plaintit`f which duty was
breached by the reasons aforesaid

60. Plaintiff had been damaged by Defendants’ breach of their fiduciary duties.

`WHEREFORE, Plaintift`s demand judgment in their favor and against Defendants, for

an amount in excess oi`$§ 0,000.00, plus interest, costs of suit and attorney fees, punitive

damages, and other relief which this Honorable Cou:rt deems necessary and just,

 

 

Respectfully Subrnitted,
wsrsssae LAW sanFKoPr LAW, LLC
BY:/s/Ma..trhew Wez`.rberg BY! %/vv 25 5¢/5:\~‘\-%2.€:
MATTHEW B. wersesao,aso GARY,scl-niri<orr, nsQ// /
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Case 2:18-0`\/-02867-|\/|8(3 Document 1 Filed 07/09/18 Pag_e 19 of 26

§ EE!E] QATION

I, Michelle Sherman, state fhatl am the above-named Plaintifl` in this action and that the
foregoing is true and correct to the best of` my knowledge, information and belief'. l understand
that the statements made i.n thc foregoing complaint are made subject to the penalties of 18

Pa.C.S. 4904 related to unsworn falsification to authorities

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Case 2:18-cV-O2867-I\/|SG Document 1 Filed 07/09/18 Page 20 of 26

EXHIBIT B

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Court of Coinmon Pleas of Philadelpliia Connty
Trial Division

 

 

 

 

  

 

C-ivil Cover Sheet

MICHELLE SHERMAN

DEFEN`DANr's NAM`E
CIGNA CORPORATIDN

 

PL)\mnFF's licensee
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TWO LIBERTY PLI\CE} 1601 CHES’I`NIJT STREBT
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TOTAL NUN|BER OF PLN HT|FFS TOTJ\L NUM ElER OF DEFENDANTB

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STATUTORY SAS.\S FOR CAUSE UF ACT|ON

 

 

 

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TO THE PROTHONOTARY:

Papers may be served at the address set forth bciow.

Kindty enter my appearance on behalf ofPlaiutilthctitionerprpcllant: MICHEl-LE SHERMAN

 

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GARY SCHAFI<OPE‘

.ABDRESS
SCHAE'KOPE` LNN LLC
11 BALPL AVENUE

 

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gschafkopf@gmail . com

 

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DATE SUBMl`|'TED
Monday, Mareh 19, 2018_. 05:19 pm

 

 

 

 

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Case 2:18-cV-O2867-I\/|SG Document 1 Filed 07/09/18 Page 22 of 26

WEISBERG LAW

Matthcw B. Weisberg, Attol‘ney ID No. 85570
7 South Mor'lon Ave.

Mol'ton, PA 19070

610-690-0801

Fax: 610-690-0880

Attol'ney for Plaintil`f

MICHELLE SHERMAN
620(1 Madison Coult
Bensalcrn PA 19020

Plai nt`if`t`
v.

CIGNA CORPORATION
Two Liberty Place

1601 Chestnnt Htrcet
Philadclphia, PA 19192

and

LIFE INSURANCE POLICY OF NORTH
AMERICA

Two Liberty Place

1601 Chestnut Street

Philadelphia, PA 19192

and

ARIA I-IEALTH d!b!a ARIA- \/
.]EFFERSON HEALTH

10800 Knights Road

Philadelph'ia, PA 19114

Dci"endants

Schatkopf Law, I.-.LC

Gaiy Schaf|<opi" Attolney I_D `l§o&$~itiii§i.`t “ _

11 Bala Ave

Bala cynwyd, PA 1900€,§§§:__1§”..'!”°°'1§_ ”"°
610- 664- 5200 Ext 104 ila §§-
Fax: 838~283~1334 ‘i;~:`"
Attorncy for Plaintiff '

  
 

 

PHILADBLP_HIA COUNTY COURT
OF COMMON PLEAS

No.

 

 

PRAECIPE TO ISSUE WRIT OF SUMMONS

'l`O THE PROTl-IONOTARY:

Kindly issue a writ of summons in the above-captioned inattet'.

Case lD: 180302188

 

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..\,.‘-_...,\....,.,..,.._11_:,,__.;_\ ____ _ ._ _ _._.. _.

CaS€ 2218-CV-02867-|\/|SG

Respeet'l`ully Subrnitted,
WEISBERG LAW

BY: /s/ Matthcw We:'sl)erg
MA'I"I`HBW B, WEISBERG, ESQ
DATED: 3-19»18

Document 1 Filed 07/09/18 Page 23 of 26

SCHAFKOPF LAW, LLC

'BY: /.s'/ Garg Schafltop[
GARY SCHAFKOPF, ESQ.

DATED: 3-19»1_8

Case lD: 180302138

 

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Case 2:18-cV-O2867-I\/|SG Document 1 Filed 07/09/18 Page 24 of 26

Sllntnlons
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COUNTY C)i" PHILADELPHIA

 
  
  

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vs.
No.

 

Cigna Corporation et al
Dcfcndcnt

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Cigna Corporation
Life |nsurance Policy of North America

Ar|a Hea|lh dib!a Aria»Jetfereon l-|ea|th

Writ of Summons

You are notified that the 1:’lalnti'l`f`2
Usfcd csra carlsoer qua el demandrm.-’c

Michel!e Sherman

 

 

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1 Name(si of Defendant[s}
2 Name[s} of Plalntiff(s}

 

1(*JFase ID: 18(1302188

 

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Case 2:18-cV-O2867-I\/|SG Document 1 Filed 07/09/18 Page 25 of 26

Court of Coxnmon Pleas

 

Tcrm, 20
Ne.
Mlche||e Sherman
Plahrrw'
vs.

Cigna Ccrporalion et al
Di.-fenn'an.‘

SUMMONS

Casc ID: 1303 02 | 88

 

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Case 2:18-cV-O2867-I\/|SG Document 1 Filed 07/09/18 Page 26 of 26

CERTIFICATE OF SERVICE

I, Meghan J. Ta]bot, hereby certify that on the date Stated below, I caused a

true and correct copy of the foregoing Nor£ce ofRemoval to be served via U.S.

Mail upon counsel as follows:

Dated:

July 9, 2018

Matthew B. Weisberg, Esquire
WEISBERG LAW

7 South Morton Avenue
Morton, PA 19070

Attomeyfor Plainrz`ff

Gary Sehafkopf, Esquire
SCHAFKOPF LAW LLC

ll Bala Avenue

Bala Cynwyd, PA 19004
Attorneyfor Plafnt{.'{f
Christopher J. Moran

3000 TWo Loga.n Square
Philadelphia, PA 19103-2799

A).‘torneyjbr Defendanf Arz`a Healrh

W

M€§hHJ. Talbot

